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                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Criminal No. 13-235 (JRT)
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 MICHAEL JAMES DEEGAN,                    )
                                          )
                        Defendant.        )



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Robert H. Meyers shall appear as

appointed counsel of record for the above named defendant in this case.



Dated: September 08, 2022                     s/Robert H. Meyers
                                              ROBERT H. MEYERS
                                              Attorney ID No. 388110
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
